             Case 2:06-cv-02465-WBS-KJN Document 11 Filed 05/09/07 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   FREDERICK GATLIN,

11                  Plaintiff,                      No. CIV S-06-2465 WBS GGH P

12           vs.

13   MR. NICHOLS, et al.,

14                  Defendants.                     ORDER

15                                          /

16                  Plaintiff, a state prisoner proceeding pro se, has filed this civil rights action

17   seeking relief under 42 U.S.C. § 1983. The matter was referred to a United States Magistrate

18   Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

19                  On March 6, 2007, the magistrate judge filed findings and recommendations

20   herein which were served on plaintiff and which contained notice to plaintiff that any objections

21   to the findings and recommendations were to be filed within twenty days. Plaintiff has not filed

22   objections to the findings and recommendations.

23                  The court has reviewed the file and finds the findings and recommendations to be

24   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

25   ORDERED that:

26   \\\\\

                                                       1
              Case 2:06-cv-02465-WBS-KJN Document 11 Filed 05/09/07 Page 2 of 2




 1                   1. The findings and recommendations filed March 6, 2007, are adopted in full;

 2   and

 3                   2. The claims against defendant Cry contained in the complaint are dismissed.

 4   DATED: May 7, 2007

 5

 6

 7

 8

 9

10   /gatl2465.800


11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                     2
